                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                                   Western Division


DEVIN G. NUNES                               )
                                             )
         Plaintiff,                          )
                                             )
v.                                           )          Case 5:19-cv-4064-CJW-MAR
                                             )
                                             )
RYAN LIZZA                                   )
     et al                                   )
                                             )
         Defendants.                         )
                                             )
                                             )
NUSTAR FARMS, LLC                            )
     et al                                   )
                                             )
         Plaintiffs,                         )
                                             )
v.                                           )           Case 5:20-cv-04003-CJW-MAR
                                             )
                                             )
RYAN LIZZA                                   )
     et al                                   )
                                             )
         Defendants.                         )
                                             )


                       RESISTANCE AND OPPOSITION
                          TO MOTION TO STRIKE
         Plaintiff, Devin G. Nunes (“Plaintiff” or “Nunes”), by counsel, pursuant to Local

Rule (“LR”) 7e, files the following Resistance and Opposition to the motion to strike

[ECF Nos. 98, 99] filed by defendants, Ryan Lizza (“Lizza”) and Hearst Magazine

Media, Inc. (“Hearst” or “Esquire”).




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       1.      On June 1, 2022, the Court entered an Order [ECF No. 90] granting in part

and denying in part Plaintiff’s motion for leave to file second amended complaint. The

Court granted Plaintiff leave to amend his complaint to include Count I – Defamation by

Implication, Count III – Conspiracy, and a claim for punitive damages by alleging that

the Defendants acted with actual malice. In its Order, the Court stated that “Plaintiff

shall have until June 15, 2022 to file an Amended Complaint removing his False Light

Invasion of Privacy Claim and eliminating the prolixity and irrelevant material from his

remaining claims.”

       2.      In its Order, p. 8, the Court observed that to the extent Plaintiff included

facts throughout the proposed second amended complaint about “prior publications of the

article, those facts do not attempt to revive the dismissed claim arising from the original

publication but merely provide background information for the republication claim.”

Nevertheless, the Court did note that the Plaintiff’s proposed second amended complaint

“contains much irrelevant information.” The Court offered one example: “the inclusion

of six tweets in Plaintiff’s statement of facts that have nothing to do with the November

20, 2019 tweet.”1 On page 9 of its Order, the Court repeated that “Plaintiff’s complaint is

both prolix and replete with irrelevant statements.      Still, despite its surplusage the

amended complaint does not attempt to reassert claims on which this Court has rendered

final judgment.”




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                 In addition to being “background information for the republication claim”,
Plaintiff included the six tweets in the second amended complaint for two (2) reasons.
First, the six tweets are evidence of prior publications, which under the Cowman case, are
relevant to Plaintiff’s claim that Defendants acted with actual malice in republishing the
article on November 20, 2019. Second, Plaintiff included the six tweets because they are
relevant to Plaintiff’s conspiracy claim.


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       3.      The Court also indicated that Plaintiff had failed to “identify the

November 20, 2019 tweet as the basis for his defamation claim in Count I.” Yet, the

Court noted that Plaintiff had incorporated the allegations in paragraphs 2, 29 and 42(c)

of the second amended complaint (all of which specifically identify or refer to the

November 20, 2019 tweet) into Count I. Given the express incorporation of paragraphs

2, 29 and 42(c) into Count I, it was unnecessary to add yet another reference to the

November 29, 2019 republication. Defendants are clearly on notice. They know full

well that Plaintiff’s defamation by implication claim is based upon Defendants’

republication of the article in November 2019.

       4.      Plaintiff complied with the Court’s Order. Plaintiff removed the false

light invasion of privacy claim. Plaintiff in good faith eliminated the “prolixity and

irrelevant material” from his remaining claims. Plaintiff did not add to the second

amended complaint. Plaintiff subtracted as the Court instructed. Plaintiff eliminated

“discussion of case law” supporting his claims, except where Plaintiff believed the cases

were especially important to the issues. [E.g., Second Amended Complaint, ¶ 42(b)

(citing Cowman v. LaVine, 234 N.W.2d 114, 121 (Iowa 1975) (“other defamatory

publications similar to the one charged are generally admissible on the issue of actual

malice, provided they are not privileged … Where it occurs outside court, republication

may be relevant as circumstantial evidence probative of the declarant’s state of mind—an

issue upon which direct evidence is generally lacking”)].2

       5.      Importantly, Plaintiff included facts in the second amended complaint in

order to conform his pleading to the third amended complaint filed in the companion


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                Lizza’s prior publications in 2017, falsely accusing Plaintiff of conspiracy,
are clearly relevant and admissible on the issue of actual malice per Cowman.


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case, Nustar Farms v. Lizza, Case 5:20-cv-4003-CJW-MAR. Significantly, the Court

granted the NuStar Plaintiffs leave to file their third amended complaint. There was no

mention of prolixity and/or relevance in the Court’s Order. [Case 5:20-cv-04003-CJW-

MAR, Document 187]. The NuStar Plaintiffs filed their third amended complaint, which

includes virtually the same facts as are stated in Plaintiff Devin Nunes’s second amended

complaint. [Id., Document 188]. Defendants filed an answer. [Id., Document 193].

          6.       The evidence of fraud and fabrication by Defendants is shocking. The

United States Supreme Court reminds us that freedom of the press under the First

Amendment “does not include absolute license to destroy lives or careers.” Curtis Pub.

Co. v. Butts, 388 U.S. 130, 170 (1967) (Warren, C.J., Concurring). The press has no

“special immunity from the application of general laws”, nor does it have a “special

privilege to invade the rights and liberties of others.” Branzburg v. Hayes, 408 U.S. 665,

684 (1972). “No man has a right to state of another that which is false and injurious to

him. A fortiori no man has a right to give it a wider and more mischievous range by

publishing it in a newspaper … The liberty of speech and the liberty of the press do not

authorize malicious and injurious defamation.” Dexter v. Spear, 7 F. Cas. 624-625 (1st

Cir. 1825) (Story, J.).      The Court should be very, very disturbed by what these

Defendants did to Devin Nunes and his family.

          7.       The right to an unimpaired reputation is among the most sacred rights

recognized by the common law. High protection of personal reputation derives from the

common consent of humankind and has ancient roots. It is highly valued by civilized

people.        The common law powerfully supports it.    “This is a value as old as the

Pentateuch and the Book of Exodus, and its command as clear as the Decalogue: ‘Thou




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shall not bear false witness against thy neighbor.’ The personal interest in one’s own

good name and reputation surpasses economics, business practices or money. It is a

fundamental part of personhood, of individual standing and one’s sense of worth.”

Lawnwood Medical Center, Inc. v. Sadow, 43 So.2d 710, 729-732 (Fla. 4th DCA 2010)

(upholding $5,000,000 punitive damage award – “The jury obviously found Lawnwood’s

offense despicable … Lawnwood set out to destroy Dr. Sadow’s career in the community

… It was a purposeful act of malevolent destruction of the reputation of one of its

surgeons, done repeatedly as a matter of policy. A reasonable jury could conclude that

repeatedly defaming the skill and proficiency of a practicing surgeon was likely to have

significant and long-lasting public and professional consequences.              It could

rationally have equated the slanders to feathers loosed into the wind, with no one ever

knowing where they all landed or whom they touched. The effects could be seen as

insidious and unknowable.”). The law of defamation guards the reputations of public

figures like Devin Nunes, just as it protects the reputations of every Judge on every

Court. Milkovich v. Lorain Journal Co., 497 U.S. 1, 11-12 (1990) (“Good name in man

and woman, dear my lord, Is the immediate jewel of their souls”) (quoting WILLIAM

SHAKESPEARE, OTHELLO, act 3 scene 3)); Rosenblatt v. Baer, 383 U.S. 75, 92-93

(1966) (“‘Society has a pervasive and strong interest in preventing and redressing attacks

upon reputation.’ The right of a man to the protection of his own reputation from

unjustified invasion and wrongful hurt reflects no more than our basic concept of the

essential dignity and worth of every human being—a concept at the root of any decent

system of ordered liberty … Surely if the 1950’s taught us anything, they taught us that

the poisonous atmosphere of the easy lie can infect and degrade a whole society.”).




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       8.      Defendants knowingly published false facts and a baseless narrative about

“conspiracy” to millions of readers and followers. The Eighth Circuit Court of Appeals

has already found that Defendants purposefully avoided the truth when they retweeted the

article in November 2019. The damage done to Devin Nunes and his family by these

Defendants is irreversible.     As the Court has observed in several Orders, the facts

contained in Devin Nunes’s second amended complaint and in the NuStar Plaintiffs’ third

amended complaint are well-known to Court and to the parties. The Defendants know

what they did. They cannot claim surprise. The Defendants have already answered the

NuStar Plaintiffs’ substantially similar complaint. They cannot claim undue burden.



                   CONCLUSION AND REQUEST FOR RELIEF

       For the reasons stated above and the hearing of this matter, Plaintiff respectfully

requests the Court to deny the Defendants’ motion to strike.



DATED:         July 6, 2022



                              Signature of Counsel on Next Page




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                     DEVIN G. NUNES



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                          CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2022 a copy of the foregoing was filed

electronically using the Court’s CM/ECF system, which will send notice of electronic

filing to counsel for the Defendants and all interested parties receiving notices via

CM/ECF.



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